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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA                                APR O6 2021
                                                                                         ANGELA E. NOBLE
                                                                                        CLERK U.S. DIST    er
                         CASE NO. 21-20717-CIV-SCOLA/Goodman                         s. o. OF FLA . - FT. P1ER·cE

  TANIA RODRIGUEZ and FREDIS POSADAS,

         Plaintiffs,

  V.

  UNITED STATES OF AMERICA,

         Defendants.
  -----------------......:/
                PLAINTIFFS' VOLUNTARY DISMISSAL WITH PREJUDICE

         NOW COMES, Plaintiffs, TANIA RODRIGUEZ and FREDIS POSADAS by and
  through the undersigned attorney, and pursuant to Federal Rule 41(a)(l)(A), hereby files this
  Notice of Voluntary Dismissal with Prejudice against Defendant, UNITED STATES OF
  AMERICA, with each party bearing its own fees and costs in accordance with the agreement
  between parties.

                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been served

  conventionally to Attorney Latoya Brown, 500 East Broward Blvd., Suite 700 Fort Lauderdale,

  Florida 33394, (954) 660-5957 and Latoya.Brown2@usdoj.gov on this April 5, 2021.


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